 Case 6:22-cv-01209-CEM-EJK Document 1 Filed 07/12/22 Page 1 of 7 PageID 1




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA




 VALERIE DUVAL,                                                 Case No.:

            Plaintiff,

 v.

 WAL-MART STORES EAST, LP,

       Defendant.
 _________________________________/


      DEFENDANT’S NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT
              COURT FOR THE MIDDLE DISTRICT OF FLORIDA


        Pursuant to 28 U.S.C. §§ 1332(a)(1), 1441 and 1446, Defendant, Wal-Mart Stores East, LP

(“Wal-Mart”), hereby removes the above-captioned matter from the Seventh Judicial Circuit in

and for Volusia County, Florida, to this Court. 1 In support, Wal-Mart states:

                                          The Removed Case

        1.         The underlying action was initially filed on or about June 17, 2022, in the Seventh

Judicial Circuit in and for Volusia County, Florida, and is captioned Duval v. Wal-Mart Stores

East, LP, Case No. 2022-10959-CIDL (Fla. 7th Jud. Cir.).

        2.         As required by 28 U.S.C. § 1446(a), copies of process, pleadings, and orders served

on Wal-Mart in the removed action are attached here as Exhibit A.




        1
         By removing to this Court, Wal-Mart expressly preserves and reserves all defenses
otherwise available to it. See, e.g., Kostelac v. Allianz Glob. Corp. & Specialty AG, 517 F. App’x
670, 674 n.6 (11th Cir. 2013) (“The removal of an action from state to federal court does not waive
any Rule 12(b) defenses[.]”).
  Case 6:22-cv-01209-CEM-EJK Document 1 Filed 07/12/22 Page 2 of 7 PageID 2




                                         Removal Is Timely

       3.      Wal-Mart was first served in connection with this lawsuit on June 23, 2022. This

Notice of Removal is filed within thirty (30) days of the date of service; therefore, the Notice is

timely pursuant to 28 U.S.C §1446(b). See Jones v. Commonwealth Land Title Ins. Co., 459 F.

App’x 808, 810 (11th Cir. 2012) (“each defendant has thirty days from the date of formal service

of process to file a notice of removal”); Bailey v. Janssen Pharm., Inc., 536 F.3d 1202, 1209 (11th

Cir. 2008) (“We hereby adopt the last-served defendant rule, which permits each defendant, upon

formal service of process, thirty days to file a notice of removal pursuant to § 1446(b).”); Hand v.

Cargill Fertilizer, Inc., 157 F. App’x 230, 232-33 (11th Cir. 2005) (“Because [the defendant] filed

the notice of removal within 30 days of [its] receipt of the summons and complaint, the notice of

removal was timely under section 1446(b).”).

                                  Venue Is Proper in This Court

       4.      This Court is the United States District Court for the district and division in which

the removed state-court action is pending. Accordingly, this Court is the appropriate venue for

filing this Notice of Removal under 28 U.S.C. § 1446(a).

                                    General Law Regarding Removal

       5.      Except where Congress provides otherwise, any civil action brought in a state court

can be removed to the appropriate federal district court, so long as that federal district court has

original jurisdiction. 28 U.S.C. § 1441(a). One type of original jurisdiction is diversity jurisdiction.

See generally 28 U.S.C. § 1332(a). Diversity jurisdiction exists where the amount in controversy

exceeds $75,000 and there is complete diversity of residency and/or citizenship among all parties.

Id.




                                                   2
  Case 6:22-cv-01209-CEM-EJK Document 1 Filed 07/12/22 Page 3 of 7 PageID 3




       6.      A civil action removable solely on the basis of diversity jurisdiction cannot be

removed if any of the parties properly joined and served as defendants is a citizen of the state in

which the action is brought. 28 U.S.C. § 1441(b)(2).

                  Complete Diversity of Citizenship Exists Among the Parties

       7.      This is a civil action over which the Court has original jurisdiction under 28 U.S.C.

§ 1332, and is one that may be removed to this Court under 28 U.S.C. §§ 1441 and 1446 based on

diversity of citizenship.

       8.      Plaintiff, Valerie Duval, is a Florida domiciliary. See Ex. B, Compl., ¶2 (“Plaintiff,

VALERIE DUVAL, is a natural person residing in Volusia County.”); see also, e.g., Smyth v.

Hillstone Rest. Grp., Inc., No. 13-80217, 2013 U.S. Dist. LEXIS 68408, at *5 (S.D. Fla. May 14,

2013) (proof of Florida domicile may include, inter alia, voter registration, home address, driver’s

license, and automobile registration); Grant v. Pottinger-Gibson, No. 0:15-cv-61150-KMM, 2017

U.S. Dist. LEXIS 111695, at *9 (S.D. Fla. July 17, 2017) (explaining that “a party’s residence is

prima facie evidence of a party’s domicile” and providing that “[f]actors frequently taken into

account when assessing the domicile of a party include, inter alia: “the party’s current residence,”

“license and automobile registration,” and “situs of personal and real property”).

       9.      Defendant, Wal-Mart, is a foreign corporation organized under the laws of the state

of Delaware with its principal place of business in Arkansas. See Ex. B, Compl., ¶3 (alleging that

Wal-Mart is a foreign corporation licensed to do business in Deltona, Volusia County in the State

of Florida); see also Hertz Corp. v. Friend, 559 U.S. 77, 80-97 (2010) (explaining that “a

corporation shall be deemed to be a citizen of any State by which it has been incorporated and of

the State where it has its principal place of business” and holding that a corporation’s “principal

place of business” is its “nerve center”).



                                                 3
  Case 6:22-cv-01209-CEM-EJK Document 1 Filed 07/12/22 Page 4 of 7 PageID 4




        10.     Wal-Mart, therefore, is not domiciled in Florida. Because Plaintiff and Defendant

are domiciliaries of different states, complete diversity exists under 28 U.S.C. § 1332. Therefore

this Court has original jurisdiction.

                         The Amount in Controversy Has Been Satisfied

        11.     While Plaintiff has indicated that her damages exceed $30,000, her complaint does

not specify a precise amount of damages sought. See Ex. B, Compl., ¶1. That said, Plaintiff’s pre-

suit demand letter alleged $2,744,800.00 in future pain and suffering damages; $32,160 in past

pain and suffering damages; and $20,555.03 in past and present medical expenses. On that basis,

Plaintiff’s pre-suit demand extended a “Policy Limits” offer to settle for $1,000,000.00. In support

of subsequent pre-suit demands, Plaintiff also provided various medical bills owed: $23,000 owed

to Park Place Surgery Center; $18,750 owed to Zion Medical Inc.; and $1,925 owed to Anesthesia

Professional Services.

        12.     Because the pre-suit demand letter provides specific information to substantiate

Plaintiff’s valuation of the claim, it is extremely useful in determining whether the amount in

controversy requirement is satisfied. See Aijde Wanounou, Inc. v. Scottsdale Ins. Co., No. 20-cv-

23491, 2020 U.S. Dist. LEXIS 154503, at *5-6 (S.D. Fla. Aug. 26, 2020) (“[a] settlement offer

will only be entitled to additional weight when it provides enough specific information to support

the plaintiff’s claim for damages to indicate that the offer is a reasonable assessment of the value

of the plaintiff's claim.”).

        13.     As such, the demand letter, in combination with the Complaint and medical records,

are sufficient to demonstrate that the claimed amount in controversy exceeds $75,000:

    •   See, e.g., AAA Abachman Enters., Inc. v. Stanley Steemer Int’l, Inc., 268 F. App’x 864, 866

        (11th Cir. 2008) (amount in controversy satisfied where the plaintiff alleged in a pre-suit



                                                 4
 Case 6:22-cv-01209-CEM-EJK Document 1 Filed 07/12/22 Page 5 of 7 PageID 5




       demand letter that it would “suffer hundreds of thousands of dollars in damages and

       potentially millions of dollars of damages”);

   •   Wilson v. Target Corp., No. 10-80451-CIV, 2010 U.S. Dist. LEXIS 96399, at *8-10, 2010

       WL 3632794, at *4 (S.D. Fla. Sept. 14, 2010) (holding that detailed pre-suit demand letter

       that delineated the extent of alleged injuries, physicians who had treated plaintiff, and

       medical care received was evidence that claimed damages would exceed $75,000);

   •   Henkle v. Cumberland Farms, Inc., No. 16-14248-MIDDLEBROOKS, 2016 U.S. Dist.

       LEXIS 194292, at *4-5 (S.D. Fla. Aug. 19, 2016) (“[L]etters and facts in a pre-suit demand

       letter are permissible evidence for the Court to consider when evaluating the amount in

       controversy…. I find that the detail provided in Plaintiffs’ Demand Letter shows an honest

       valuation by Plaintiffs of the damages that they seek to recover in this case.” (collecting

       cases; internal citations omitted)); and

   •   Katz v. J.C. Penney Corp., No. 09-CV-60067, 2009 U.S. Dist. LEXIS 51705, at *15 (S.D.

       Fla. June 1, 2009) (“The Court concludes that Defendant has met its jurisdictional burden

       of establishing the amount in controversy based on information received from Plaintiffs in

       the pre-suit demand package. In the present case, the Court is persuaded that the pre-suit

       demand package reflects an honest assessment of damages by Plaintiffs because it is based

       on medical records provided by the Plaintiff.”).

       14.     Upon review of Plaintiff’s demand letter, the letter’s attachments, and the

Complaint, common sense dictates that the amount sought here far exceeds $75,000. See 28 U.S.C.

§ 1446(c)(2)(B) (“removal of the action is proper on the basis of an amount in controversy asserted

under subparagraph (A) if the district court finds, by the preponderance of the evidence, that the

amount in controversy exceeds the amount specified in section 1332(a)”). Although Wal-Mart




                                                  5
 Case 6:22-cv-01209-CEM-EJK Document 1 Filed 07/12/22 Page 6 of 7 PageID 6




denies Plaintiff’s claims, Wal-Mart believes, in good faith, that more than $75,000 is in

controversy. Therefore, 28 U.S.C. § 1332(a)’s amount-in-controversy requirement has been met.

                                   Filing of Removal Papers

       15.     Under 28 U.S.C. § 1446(d), contemporaneous to the removal of this action, Wal-

Mart has provided written notice of removal to Plaintiff’s counsel and has filed a Notice of Filing

the Notice of Removal with the Seventh Judicial Circuit in and for Volusia County, Florida. A

true and correct copy of the Notice of Filing the Notice of Removal is attached as Exhibit C.

                                        CONCLUSION

       WHEREFORE, Defendant, Wal-Mart Stores East, LP, respectfully removes this action

from the Seventh Judicial Circuit for Volusia County, Florida, to this Court pursuant to 28 U.S.C.

§§ 1332, 1441, 1446. Should any question arise as to the propriety of this removal, Wal-Mart

respectfully requests an opportunity to provide further briefing and oral argument.




                                                6
 Case 6:22-cv-01209-CEM-EJK Document 1 Filed 07/12/22 Page 7 of 7 PageID 7




                                   CERTIFICATE OF SERVICE

       WE CERTIFY that on July 12, 2022, we e-filed the foregoing document with the Clerk of

the Court using CM/ECF. We also certify that the foregoing document is being served this day on

all parties and counsel of record via transmission of Notices of Electronic Filing generated by

CM/ECF and via email to the parties on the service list below.

                                            Respectfully submitted,

                                            LEWIS BRISBOIS BISGAARD & SMITH LLP
                                            Counsel for Defendant Wal-Mart Stores East, LP
                                            2 Alhambra Plaza, Suite 1110
                                            Coral Gables, Florida 33134
                                            Telephone: 786.353.0210
                                            Facsimile: 786.513.2249

                                            By: /s/ Todd Ehrenreich
                                               TODD EHRENREICH, ESQ.
                                               Florida Bar No.: 945900
                                               NOEL JOHNSON, ESQ.
                                               Florida Bar No.: 14407
                                               LAURA S. CORDELL, ESQ.
                                               Florida Bar No.: 1020228
                                               Todd.Ehrenreich@lewisbrisbois.com
                                               Noel.Johnson@lewisbrisbois.com
                                                Laura.Cordell@lewisbrisbois.com
                                               Yiselle.Coronel@lewisbrisbois.com



                                       SERVICE LIST


Lina M. Lopez, Esq.
MORGAN & MORGAN, P.A.
444 Seabreeze Boulevard, Suite 100
Daytona Beach, FL 32118
Tel. (386) 947-9959
llopez@forthepeople.com
mvogel@forthepeople.com
Attorneys for Plaintiff




                                               7
